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                       EXHIBIT B
     Case 4:21-cv-01756 Document 1-2 Filed on 05/28/21 in TXSD Page 2 of 10                             4/26/2021 2:41 PM
                                                                            Marilyn Burgess - District Clerk Harris County
                                                                                                 Envelope No. 52823973
                          2021a,47,7 / Court: 011                                                        By: Courtni Gilbert
                                                                                                Filed: 4/26/2021 2:41 PM


HUMBERTO ORTIZ                                                  IN THE DISTRICT COURT OF
Plaintiff,


V.                                                                  HARRIS COUNTY,TEXAS


FIESTA MART, L.L.C.
Defendant.                                                              JUDICIAL DISTRICT


                PLAINTIFF'S ORIGINAL PETITION AND JURY DEMAND

TO THE HONORABLE JUDGE OF SAID COURT:

       COMES NOW Humberto Ortiz, hereinafter called "Plaintiff", complaining of and about

Fiesta Mart, L.L.C., hereinafter called "Defendant", and for cause of action would respectfully

show unto the Court as follows:

                                                 I.
                          DISCOVERY CONTROL PLAN LEVEL
       Discovery is intended to be conducted under Level 2 of Texas Rules of Civil Procedure

190. Plaintiff intends to seek monetary relief of $100,000 or less, including damages of any kind,

penalties, costs, expenses, pre-judgment interest, and attorney fees.



                                  PARTIES AND SERVICES
       Plaintiff Humberto Ortiz is a Texas resident. Mr. Ortiz may be contacted through his

Counsel of Record, Jason E. Payne, The Payne Firm P.C., 2900 Smith Street, Suite 200, Houston,

Texas, 77006.

       Defendant Fiesta Mart, L.L.C., is a Domestic For-Profit Corporation that may be served

via its registered agent, CT Corporation System, at 1999 Bryan St., Ste. 900 Dallas, Texas 75201

USA.
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                                                                                Marilyn Burgess - District Clerk Harris County
                                                                                                     Envelope No. 53727388
                                                                                                         By: Lewis John-Miller
                                                                                                  Filed: 5/24/2021 10:29 AM

                                      CAUSE NO. 2021-24773

HUMBERTO ORTIZ                                    §         IN THE DISTRICT COURT OF
     Plaintiff,                                   §
                                                  §
vs.                                               §         11TH JUDICIAL DISTRICT
                                                  §
                                                  §
FIESTA MART, LLC                                  §
      Defendant.                                  §         OF HARRIS COUNTY, TEXAS

                 DEFENDANT FIESTA MART, LLC’S ORIGINAL ANSWER

 TO THE HONORABLE JUDGE OF SAID COURT:

         Defendant FIESTA MART, LLC, files this Original Answer to Plaintiff’s Original

 Petition (“Petition”), and in support thereof, would respectfully show the Court the following:

                                        I.   General Denial

         1.      Under Rule 92 of the Texas Rules of Civil Procedure, Defendant generally denies

 each and every allegation made against Defendant in Plaintiff’s Petition.

                                    II. Affirmative Defenses

         2.      Defendant asserts the affirmative defense of contributory negligence. The

 negligence of Plaintiff caused or contributed to Plaintiff’s injures so that the claims are barred or,

 in the alternative, must be reduced in accordance with the relative degree of Plaintiff’s own

 negligence. Defendant requests the trier of fact to determine Plaintiff’s liability and percentage of

 responsibility pursuant to Texas Civil Practice & Remedies Code section 33.003.

         3.      Defendant is entitled to all caps and limitations on damages pursuant to the Texas

 Civil Practice & Remedies Code.

         4.      Defendant alleges that Plaintiff’s injuries and/or damages were caused by an

 intervening event for which Defendant has no liability.



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        5.      Defendant affirmatively pleads that Plaintiff’s injuries were caused by the actions

or inactions of parties not under Defendant’s control.

        6.      Defendant affirmatively pleads the defense set forth in Texas Civil Practice and

Remedies Code Section 18.091, requiring Plaintiff to prove Plaintiff’s loss of earning, loss of

contributions of a pecuniary value, and/or loss of earning capacity in the form of a net loss after

reduction for income tax payments or unpaid tax liability on said loss or earning claim pursuant

to any federal income tax law.

        7.      To the extent that Plaintiff’s medical expenses exceed the amount actually paid on

Plaintiff’s behalf to Plaintiff’s medical providers, Defendant asserts the statutory defense set

forth in Section 41.0105 of the Texas Civil Practice and Remedies Code. Thus, recovery of

Plaintiff’s medical or health care expenses is limited to the amount actually paid or incurred by

or on behalf of Plaintiff.

        8.      Plaintiff’s claims for pre-judgment interest are limited by the dates and amounts

set forth in Section 304.104 of the Texas Finance Code and Section 41.007 of the Texas Civil

Practice & Remedies Code.

                                      III. Jury Demand

        9.      Defendant hereby exercises its rights to demand a trial by jury under Rule 216 of

the Texas Rules of Civil Procedure on all issues triable by a jury.

                                          IV. Prayer

        FOR THESE REASONS, Defendant FIESTA MART, LLC respectfully prays that the

Court enter a judgment that:




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        1.      Dismisses all claims against Defendant FIESTA MART, LLC, incorrectly sued as

       FIESTA MART, INC. and orders that Plaintiff takes nothing by reason of Plaintiff’s

       allegations.

        2.      Orders that Defendant recover all costs incurred in defense of Plaintiff’s claims,

       and that Defendant’ judgment against Plaintiff include the following:

             a. Costs of suit; and

             b. Such other and further relief, general and special, at law or in equity, to which

                Defendant may be justly entitled.

                                             Respectfully submitted,
                                             MEHAFFYWEBER, P.C.

                                             By:/s/Maryalyce W. Cox
                                             Maryalyce W. Cox
                                             State Bar No. 24009203
                                             One Allen Center
                                             500 Dallas, Suite 2800
                                             Houston, Texas 77002
                                             Telephone - (713) 655-1200
                                             Telecopier - (713) 655-0222
                                             maryalycecox@mehaffyweber.com

                                             ATTORNEY FOR DEFENDANT
                                             FIESTA MART, LLC.

                                 CERTIFICATE OF SERVICE

        This will certify that a copy of the foregoing document was furnished to counsel for
Plaintiff on May 24, 2021, pursuant to the Texas Rules of Civil Procedure.


                                             Maryalyce W. Cox
                                             Maryalyce W. Cox




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                              MISNOMER/MISIDENTIFICATION

        In the event any parties are misnamed or are not included herein, it is Plaintiff's contentions

that such was a "misidentification," "misnomer" and/or such parties are/were "alter egos" of

parties named herein.

                                                  IV.

                                  JURISDICTION AND VENUE
        Venue is proper in Harris County on the grounds that at all times material to this lawsuit

and to the filing of this lawsuit, all or a substantial part ofthe events or omissions giving rise to

this claim occurred in Harris County, Texas. Therefore, venue properly lies in Harris County.

                                                  V.
                                               FACTS
        On or about November 29, 2019 Plaintiff was a customer at the Fiesta Mart located at

11240 Fondren Road Houston, TX 77096. As a result of the Defendant's negligence, Plaintiff

suffered severe injuries after he slipped and fell on a puddle of water. This incident, and the injuries

resulting therefrom, were proximately caused by the negligent acts and/or omissions of the

Defendants.

                                                  VI.

                        NEGLIGENCE AS TO FIESTA MART,L.L.C.

       Plaintiff hereby incorporates by reference the factual assertions contained above. Plaintiff

hereby alleges that Fiesta Mart, L.L.C., negligent and Defendant's negligence was the proximate

cause ofthe injuries suffered by Plaintiff. Plaintiff would allege Fiesta Mart, L.L.C., negligent in the

following regards:

        1.     Failing to exercise ordinary care a premises owner would have exercised under the

               same or similar circumstances and;

       2.      Failing to make the premises reasonably safe.
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Each of these acts and/or omissions of Fiesta Mart, L.L.C., whether taken singularly or in any

combination constitute negligence and gross negligence that proximately caused the Plaintiff's

injuries and other losses as specifically set forth herein, all of which Plaintiff suffered and which he

will continue to suffer in the future if not for the remainder of his natural life, and the damages and

other losses to Plaintiff.

                                                    VII.

                                           NEGLIGENCE

        Defendants' negligent acts and/or omissions of said premises include, but are not limited to:

        1.      Failing to maintain said premises in a reasonable condition;

        2.      Failing to inspect said premises;

        3.      Failing to make reasonable repairs; and

        4.      Failing to warn of a dangerous condition of said premises.

        The above and foregoing acts and/or omissions were a proximate cause of Plaintiff's

injuries and damages and were committed and/or omitted by Defendants, its agents, servants,

and/or employees in the course and scope of its agency, representation or employment.

        As a result of the injuries Plaintiff sustained as a result of the incident made the basis of

this suit, Plaintiff has incurred necessary hospital and medical expenses and will continue to incur

medical expenses in connection with said injuries for an undetermined length oftime in the future.

        Plaintiff would further show that as a result of the negligence of the Defendants, and the

injuries to Plaintiff caused solely by the said negligence of said Defendants, Plaintiff has

experienced extreme physical pain, suffering and mental anguish; and, in all probability, will be

forced to endure physical pain, suffering, and mental anguish for an undetermined length of time

in the future and probably for the rest of his life.
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                                       GROSS NEGLIGENCE

Plaintiff also. asserts that Defendants' conduct constituted gross negligence, conscious indifference

and malice, as those terms are defined and interpreted under Texas law. As such, Plaintiff is entitled

to recover and hereby sues for the recovery of punitive and/or exemplary damages.

                                                   IX.
                                              DAMAGES

         The injuries Plaintiff sustained as a result ofthe incident made the basis ofthis suit, Plaintiff

has incurred necessary hospital and medical expenses and will continue to incur medical expenses

in connection with said injuries for an undetermined length of time in the future.

   Plaintiff respectfully requests the following damages to be considered separately and

individually for the purpose of determining the sum of money that will fairly and reasonably

compensate his:

   a.    The physical pain and suffering Plaintiff has suffered in the past and will continue to
         suffer in the future;

   b.    The physical impairment Plaintiff has suffered in the past and will continue to suffer in the
         future;


   c.    The mental anguish Plaintiff has suffered in the past and will continue to suffer in the
         future;


   d. The loss of enjoyment of life Plaintiff has suffered in the past and will continue to suffer
      in the future; and


   e. The amount ofreasonable medical expenses necessarily incurred in the past, and those that
      will be reasonably incurred in the future.

   f. The amount of reasonable, if at all any, loss wages necessarily incurred.

                                                         X.
                                               JURY DEMAND

         Plaintiff requests a trial by jury. With this lawsuit, Plaintiff has deposited the required fee
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with the District Clerk.

                                                     XI.
                                          RULE 193.7 NOTICE
       Pursuant to Texas Rule of Civil Procedure 193.7 Plaintiff intends to use all of Defendants'

discovery responses as evidence at trial in accordance with such rights and privileges.

                                                    XII.
                                       DISCLOSURE REQUEST
       Pursuant Texas Rule of Civil Procedure 194, except as exempted by Rule 194.2(d) or as

otherwise agreed by the parties or ordered by the court, Defendants must, without awaiting a

discovery request, provide to Plaintiff the information or material described in Rule 194.2, 194.3,

and 194.4 of the Texas Rule of Civil Procedure.


                                                   XM.

                                                 PRAYER
       WHEREFORE,PREMISES CONSIDERED,Plaintiffs request the Defendants be cited

to appear and answer and that on final trial Plaintiff has:

        1. Judgment against Defendants for a sum within the jurisdictional limits of the Court,

with prejudgment interest as provided by law.

       2. Interest after judgment at the legal rate until paid.

       3. Costs of suit.

       4. Damages for pain and suffering.

       5. Such other and further relief to which Plaintiff may be justly entitled.
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                                      Respectfully submitted,

                                      THE PAYNE FIRM,P.C.


                                     /s/David Points, III
                                     David Points, lit
                                     Texas Bar No. 24105943
                                     2900 Smith Street, Suite 200
                                     Houston, TX 77006
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                                     Fax:(713)222-0794

                                      ATTORNEY FOR PLAINTIFF
